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 8                        UNITED STATES DISTRICT COURT

 9             CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION

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11   REYNALDO O.,                         CASE NO. CV 19-10184-AS

12                   Plaintiff,

13        v.                                     JUDGMENT
14   KILOLO KIJAKAZI, Acting
     Commissioner of Social
15   Security,
16
                     Defendant.
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20         IT IS HEREBY ADJUDGED that the decision of the Commissioner

21   of the Social Security Administration is reversed in part and the

22   matter is remanded for further administrative action consistent

23   with the Opinion filed concurrently herewith.

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25        DATED: November 23, 2021

26
                                                         /s/      _________
27                                                    ALKA SAGAR
                                             UNITED STATES MAGISTRATE JUDGE
28
